Case Oe NTI Document 1 Filed 06/20/14 Page 1 of 29

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

S S = - =x
YITSCHAK GOLDSTEIN
Civil Action No.
Plaintiff,
-against-
ABRAHAM JOSEPH, NOCHUM FRIEDMAN, COMPLAINT
SIMAN TOV ASSOCIATES,
KY MOTEL, KYM LAD LLC,
KJ ACRES, LLC, STEVEN MILLIGRAM, wo S,
VILLAGE OF MONROE, and JOHN DOE #1 So “oS
through #10, p & OR
2 2 Boon
Defendants. JURY TRIAL DEMANDED Ps “9
x a ne

 

Plaintiff, YITSCHAK GOLDSTEIN, appearing pro se, as and for his complaint — j
against the defendants, respectfully alleges as follows:

THE PARTIES
1. The Plaintiff YITSCHAK GOLDSTEIN (“Plaintiff”), is above
the age of eighteen years, and is domiciled at 131 Acres Road, Unit 201, Monroe,

New York 10950.

2. The Defendant ABRAHAM JOSEPH (“JOSEPH”) is a person
over the age of 18 years, and resides at 50 Satmar Drive, Monroe, New York

10950.
Case 7:14-cv-04477-NSR_ Document1 Filed 06/20/14 Page 2 of 29

3. The Defendant NOCHUM FRIEDMAN (“FRIEDMAN”) is a
person over the age of 18 years, and resides at 82 Forest Road, Monroe, New York

10950.

A, The Defendant SIMAN TOV ASSOCIATES, (“SIMAN TOV”)
upon information and belief is a d/b/a or other entity associated with Defendants
JOSEPH, and FRIEDMAN, and maintains an office at 49 Forest Road, Monroe,

New York 10950.

5, The Defendant SIMAN TOV LLC, upon information and belief
is a d/b/a or other entity associated with Defendants JOSEPH, and FRIEDMAN,

and maintains an office at 49 Forest Road, Monroe, New York 10950.

6. Upon information and belief Defendant SIMAN TOV LLC is a

New York Limited Liability Company.

7. Upon information and belief Defendant SIMAN TOV LLC isa

New York Limited Liability Company.
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 3 of 29

8 Upon information and belief Defendant SIMAN TOV LLC

transacts business in the state of New York, County of Orange.

9. | Upon information and belief Defendant SIMAN TOV LLC
maintains an office at, and/or conducts business out of 50 Satmar Drive, New York

10950.

10. Upon information and belief Defendant Joseph is a principal,
and/or agent, and/or owner, and/or officer and/or employee of the Defendant

SIMAN TOV LLC.

11. The Defendant KY MOTEL is believed to be a legal entity
registered in the State of California and maintains an address at 11173 Ocotillo

Road, Desert Hot Springs, California 92240.

12. The Defendant KY MOTEL transacts business in the State of
New York, and sometimes receives mail at Post Office Box 728, Monroe, New

York 10950.
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 4 of 29

13. Upon information and belief Defendants Joseph and Friedman
are principals, and/or agents, and/or owners, and/or officers and/or employees of

the Defendant KY MOTEL.

14. Upon information and belief, at times during the past 10 years
Defendants Joseph and Friedman conducted together business under the name of

KY MOTEL.

15. The Defendant KYM LAD LLC is believed to be a legal entity
registered in the State of New York, and maintains an address at 82 Forest Road,

Monroe, NY 10950.

16. Upon information and belief Defendants Joseph and Friedman
are principals, and/or agents, and/or owners, and/or officers and/or employees of

the Defendant KYM LAD LLC.

17. Upon information and belief, at times during the past 10 years
Defendants Joseph and Friedman conducted together business under the name of

KYM LAD LLC.
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 5 of 29

18. Upon information and belief Defendant KJ Acres LLC (“KJ

Acres”) is a New York Limited Liability Company.

19. The Defendant KJ Acres transacts business in the State of New

York.

20. Upon information and belief Defendant KJ Acres maintains an

office or address at 82 Forest Road, Monroe, New York 10950.

21. Upon information and belief, that at times during the past nine
years, Defendants Joseph and Friedman were principals, and/or agents, and/or

owners, and/or officers and/or employees of the Defendant KJ Acres.

22. Upon information and belief Defendant KJ Acres is currently

owned, and controlled by Defendant Friedman, its sole member.

23. The Defendant STEVEN MILLIGRAM (“Judge Milligram”) is
a person over the age of 18 years, and maintains an office at One Corwin Court,

Newburgh, New York 12550.
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 6 of 29

24. The Defendant VILLAGE OF MONROE is a legal entity with

an address at 7 Stage Road, Monroe, New York 10950.

25. The Defendants JOHN DOE #1 through #10 are is a person over
the age of 18 years, and resides at fictitious names representing persons of both gender,
above the age of 18 years, whose real names are currently unknown to Plaintiff, and who

are believed to have aided and abetted the herein defendants in the allegations herein

described.

26. The claims alleged herein arise in connection with Defendants
JOSEPH, FRIEDMAN, SIMAN TOV, KY MOTEL, and KJ ACRES having
engaged in a concerted, multi level artifice, over a period of approximately ten
years, which included a repeated pattern of crimes, including mail fraud, which
targeted Plaintiff, with the aim and intent inter alia to defraud him of hundreds of
thousands of dollars and to rob him of his rights to certain real property, to wit, a
parcel known as Unit 201, located at 131 Acres Road in Monroe, New York, which
was legally converted to a condominium during about March 2009 (“subject

premises”).
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 7 of 29

27. Plaintiff seeks monetary and equitable relief, as well as
injunctive relief and all other appropriate remedies to which he is entitled under

United States and New York law.

28. Jurisdiction is proper in this Court pursuant to 28 U.S.C. §
1331, because this is a civil action arising under the laws of the United States.
This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 with respect

to Plaintiff's claims arising under the laws of the State of New York.

29. Venue is proper in this Judicial District pursuant to 28 U.S.C. §
1391(b) and 18 U.S.C. § 1965 in that a substantial part of the events giving rise to

Plaintiff's claims occurred in Orange County, New York.

30. In July 2004, Defendants Joseph and Friedman jointly held title
to the entire premises known as 131 Acres Road in Monroe, New York, a building
structure consisting of four apartments, a sub-ground level apartment, and three
separate units above ground. At that time the said premises was not yet a legalized

for condominiums.
Case 7:14-cv-04477-NSR_ Document1 Filed 06/20/14 Page 8 of 29

31. In June 2004, the apartment unit referred to herein as Unit 201

or subject premises was in disrepair and uninhabitable.

32. In June 2004, Defendants Joseph and Friedman, acting in
concert and conspiracy, and with intent to rob and cheat Plaintiff falsely
misrepresented to Plaintiff that Unit 201, located at 131 Acres Road in Monroe,

New York, was a legal condominim, and that the sale price is $250,000.00.

33. To induce Plaintiff to enter into a purported purchase contract
agreement regarding the falsely represented unit 201, Defendant Joseph, acting in
concert and conspiracy with Defendant Friedman offered Plaintiff that if he would
leave a down paymet of $4,000 and undertake to renovate, repair and make
habitable the premises, which cost was no less than approximately $50,000.00,
and agree to pay off the balance of $196,000.00 remaining, the purported sale of

unit 201 would be finalized.

34. To make matters more enticing, Defendant Joseph, acting in
concert and conspiracy offered arrangements for Plaintiff to pay off the
$196,000.00 balance by means of a purported self-amortizing purchase money

mortgage, and where Plaintiff, if in agreement with the terms, would be paying
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 9 of 29

monthly “mortgage payments” in the amount of $1400.00 to Defendant Joseph,

acting in concert and conspiracy with Defendant Friedman.

35. Plaintiff, in reliance upon the misrepresentations made by
Defendant Joseph, tendered to Defendant Joseph, who was acting in concert and

conspircy with Defendant Friedman, the sum of $4,000.00.

36. Plaintiff, in reliance upon the misrepresentations made by
Defendant Joseph, spent no less than $50,000.00 in repairs and renovations to

bring unit 201 to a habitable state.

37. Beginning approximately October 2004, Plaintiff, in reliance
upon the misrepresentations made by Defendant Joseph, tendered montly
“mortgage” payments in the amount of $14,00.00 to Defendant Joseph, who

accepted same while acting in concert and conspiracy with Defendant Friedman.

38. As part of the scam conducted in concert by Defendants Joseph
and Friedman, Plaintiff never received any officially written contract or other

official evidence from Defendant Joseph relating to the aforementioned purchase
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 10 of 29

atrangements, despite having demanded of him that he provide Plaintiff with such

proof of purchase.

39. Subsequent to Plaintiff having repaired and renovated the
subject premises at a cost of over $50,000.00, which included $41,000.00 to a
contractor and $9,000.00 in related costs, Plaintiff was advised that the subject
premises was not a legally approved condeminium, and that no condiminium

conversion was even in the process.

40. When Plaintiff confronted Defendant Joseph of the
misrepresentation, Defendant Joseph, while acting in concert and conspiracy with
Defendant Friedman, responded that it doest matter; the conversion will very soon
take place and as long as Plaintiff continues to make his monthly “mortgage

payments”, Plaintiff will receive title ownership to unit 201.

41. For the next approximate four years Plaintiff was continuously
assured by Defendant Joseph that he is working with lawyers to make a
condominium conversion, and that as soon as there is a conversion Plaintiff will

receive title to the subject premises.
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 11 of 29

42. Plaintiff had been falsely advised by Defndant Joseph that
defendnat Friedman too was a purchaser, having purchased the unit upstairs from

Plaintiff, and that there is nothing to be worried or concerned over.

43. Plaintiff was additionally advised by Defendant Joseph that
another neighbor living upstairs from the subject premises was likewise a

condominium purchaser.

44, As part of the fraud scam on the part of Defendants Joseph and
Friedman, during about June 2008, Plaintiff was advised by Defendant Friedman
that he had purchased from Defendant Joseph the subject premises, and that in
order for Plaintiff to continue residing in the subject premises he will be required

to pay an additional $400 per month as rent.

45. As aresult of Defendant Friedman’s claim to have purchased
the subject premises a dispute ensued between Plaintiff and Defendant Friedman,
and where Defendant Friedman, acting in concert and conspiracy with Defendant

Joseph, subsequently pushed the matter to a rabbinical court arbitration.
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 12 of 29

46. An arbitration proceeding between Defendant Friedman and

Plaintiff was held during the summer of 2008.

47. At the arbitration proceeding Defendant Friedman, acting in
concert and conspiracy with Defendant Joseph, was careful not to disclose to the
arbitrtor that he is a partner with Defendant Joseph dating back from before 2004,
and that he was fully privy to all the terms and arrangments that were made
between Defendant Joseph and Plaintiff in the 2004 agreement to sell the subject

premises to Plaintiff.

48. Instead, Defendant Friedman, acting in concert and conspiracy
with Defendant Joseph, made himself falsely appear as a recent arms length
purchaser of the subject premises with no knowledge of the arrangment that had

existed prior thereto between Defendant Joseph and Plaintiff.

49. At the arbitration proceeding Defendant Friedman falsely
insisted inter alia that he had no knowledge of the exorbatent monies Plaintiff
spent in renovating the subject premises to transform same from an uninhabitable

unit to a habitable apartment.
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 13 of 29

50. At the said arbitration, Plaintiff demanded that Defendant

Joseph was a necessary party and that he must also participate at the arbitration as

a party.

51. The arbitrators on the insistance of Defendant Friedman that he
was a new purchaser, refused to adhere to Plaintiff, and did not mandate that

Defendant Joseph appear as a party, or even as a witness, to arbitration proceeding.

52. In September 2008, the arbitrators ruled that there was no
evidence of any purchase of the premises on the part of Plaintiff and therefore
Friedman is the landlord and that there exists a landlord-tenant relationship

between Defendant Friedman and Plaintiff.

53. Clearly, the Defendant Friedman, an owner and partner in the
premises pre-2004, had well duped the arbitrators by clauming he was a new

purchaser of the premises.

54. In essence, Defendants Joseph and Friedman, in their

endeavoring to defraud Plaintiff via the aforesaid arbitration proceeding, rewrote
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 14 of 29

their deal with Plaintiff, and changed the staus of the herein Plaintiff from that of

oral-contract vendee in possession to that of tenant in possession.

55. In accordance with the arbitration ruling of September 2008,
finding the existance of a landlord-tenant relationship, Defendants Joeph and
Friedman are liable to Plaintiff for the costs of all the repairs and renovations made
by Plaintiff to the subject premises from the summer of 2004 until at least

September 2008, under the Doctine of Implied Warranty Of Habitability.

56. Even in the absence of the aforesaid doctine, or even where said
doctrine would not be applicable, Defendants Joseph and Friedman are still liable
to Plaintiff for his full renovation to the subject premises, as Plaintiff acted

regarding the repairs and renovations on their directive.

IN FURTHERANCE OF THE FRAUD SCAM

57. Onor about December 29, 2008, in furtherance of their scheme
to defraud Plaintiff, Defendant Friedman, acting in concert and conspiracy with his
partner Defendant Joseph , appeared at the subject premises on or about late

December 2008 without an appointment and without any lawyer. Friedman stood
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 15 of 29

in my dining room and presented me with a written contract dated December 29,

2008 to sign, for the sale of the subject premises.

58. Defendant Friedman assured Plaintiff that by signing the
written contract of December 29, 2008, it would lead to him obtaining title to the

subject premises as a legal condominium.

59. Immediately after we both signed, and despite my objections,
Friedman confiscated the contract from out of my hands while promising in a most

assuring manner he was going to return it to me after he makes for himself a copy.

60. The contract when presented to me for signature had already
been signed by Joseph on behalf of his company or d.b.a. Defendant Siman Tov

Associates, as one of two sellers of the subject premises.

61. As part of the scam, I was never provided an opportunity to be

represented by an attorney at the signing of the contract.
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 16 of 29

62. Upon information and belief, Friedman and Joseph had
retained an attorney to draft, modify, and submit the contract to the office of the

Attorney General.

63. At some between the time subsequent to Defendant Friedman
having confiscated the aforesaid written contract and about March 2009, Defendant
Friedman and/or Defendant Joseph and/or their agents, acting without the
knowledge and/or consent of Plaintiff did modify certain aspects of the said written

contract dated December 29, 2008.

64. In accordance with the terms of the contract, upon issuance of a
non-contest letter Plaintiff was obligated to make a down payment of $17,000.00

to sellers.

65. The said contract explicitly acknowledges that Respondent as
buyer resides in the subject premises. Accordingly, Respondent is a contract

vendee in possession.
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 17 of 29

66. Moreover, {22 of the aforesaid contract states in pertinent part:

“all prior understandings and agreements between
seller and purchaser are merged in this contract. It
completely expresses their full agreement. It has been
entered into after full investigation, neither party
relying upon any statements made by anyone else that
are not set forth in this contract.”

67. In accordance with the abovementioned {]22, all Plaintiff s
obligations as contract vendee in possession are set forth in the contract. Clearly,
the contract does not obligate Plaintiff to pay any amount of rent whatsoever to

Defendant Friedman.

68. Moreover, the aforesaid contract is entirely silent as to the
arbitration ruling of September 2008, thereby mooting same for all purposes

moving forward.

69. Under the terms of the aforesaid written contract of sale,

Plaintiff was no longer a tenant in possession but a contract vendee in possession.
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 18 of 29

70. Plaintiff, naively trusting the premises would be conveyed in
the near future, at that time believed to be practical to begin paying in advance and

on account ten percent of the down payment, or $1,700.00 each month.

71. To date, and before taking any other entitled reductions and
credits, Plaintiff has made at least 36 such installments of $1,700.00 each on

account toward the purchase price.

72. During the first three or four months in 2009 Defendant
Friedman kept promising Plaintiff that he would be returning the back his original
contract. Defendant Friedman never returned Plaintiff the original or any copy of

that contract despite Plaintiff continuously demanding that he do so.

73. As part of the Friedman-Joseph fraud scam, I was made to
believe by Friedman at the time of my signing the contract in December 2008 that my
apartment was going to be converted to a condominium through a mutually hired

lawyer, and not through the office of the New York State Attorney General.

74. Then at some time during about May or June 2009, in

furtherance of his intent to mislead me and defraud me of my property rights,
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 19 of 29

Defendant Friedman falsely advised me that he had given the aforesaid written
contract to an attorney to check it out and was advised that we cannot legally
convert to condominiums at this time, but that he (Defendant Friedman) will
endeavor to find another attorney with more experience about condominiums and

he and Plaintiff herein will together make a new contract and go together to such

lawyer.

75. As part of the scam, Plaintiff was made to believe by about
mid-2009 by Defendant Friedman that he had physically destroyed the original
contract, but that the same seller-buyer relationship still existed and that he and
Plaintiff would be drafting another contract in the near future for presentation to
an experienced lawyer, with the same terms included therein less any installments

already paid on account.

76. By or about November 2011, Plaintiff realized that Defendant
Friedman had conned him and ceased making any further down payments on

account of the purchase.

77. On or about March 2013, after more than fifteen months of

arguing between Defendant Friedman and Plaintiff, and after which time
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 20 of 29

Defendant Friedman felt fully confident and assured that Plaintiff is entirely
ignorant as to the existence of the contract dated December 29, 2008, Friedman
acting through Defendant KJ Acres as the Petitioner commenced an eviction

proceeding at the Justice Court, Town of Monroe, before Judge Milligram. |

78. At about the same time, Defendant Friedman again took
Plaintiff herein to arbitration. Defendant Friedman, with intent to further defraud
Plaintiff, boldly denied to the arbitrator having ever entered into any contract of
sale relating to the subject premises. Plaintiff had no proof to support his position
because Defendant Friedman had fraudulently confiscated his contract at the end of

2008 and refused to return it.

79. Plaintiff again insisted that he wanted to bring Defendant

Joseph as a witness, but the arbitrator denied Plaintiff that right.

80. Likewise, Plaintiff was denied by the arbitrator the right to legal

counsel to represent him at the proceeding.

81. The arbitrator during about March 2013 issued a ruling limited

only to reconfirming the previous arbitration ruling of September 2008, and set
Case 7:14-cv-04477-NSR Document 1 Filed 06/20/14 Page 21 of 29

forth the reason for the ruling being that Plaintiff is not a purchaser of the subject

premises.

82. The arbitrator issued a decision that never addressed or made

any final decision to resolve the controversy originally presented thereto.

83. While Plaintiff may find it acceptable to confirm that he was a
tenant during the time prior to September 2008, that second arbitration ruling of
2013, despite being invalid on its face, did not touch or affect the validity of the
December 29, 2008 contract in any fashion, or Plaintiff's current status as a

contract vendee in possession.

84. Defendant KJ Acres acting through Defendant Friedman,
believing confidently that the contract of December 29, 2008 would never be
discovered, repeatedly affirmed before the Justice Court, with the intent to pull a
fraud on that Court and to defraud Plaintiff, that Plaintiff was residing in the
subject premises as a month to month tenant and that Plaintiff was obligated under
a landlord-tenant relationship to pay rent at the rate of $1,700.00 per month, and

that Plaintiff was in default of those monthly rent payments.
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 22 of 29

85. Defendant KJ Acres, the Petitioner at the Justice Court, acting
through Defendant Friedman, falsely and perjuriously, and with intent to defraud,
denied to the Justice Court throughout the instant case the existence of, or knowledge of,
any written contract-agreement whatsoever with the therein Respondent., the herein

Plaintiff.

86. In furtherance of the fraud scam, the Petitioner therein
(Defendant KJ Acres) sought to commit further grand larceny by demanding that
the Justice Court issue a money judgment against Plaintiff herein in excess of

$50,000.00.

87. Moreover, a perjurious Affirmation submitted on behalf of
Petitioner (Defendant KJ Acres), and titled “In Opposition To Respondent’s Motion To
Dismiss Proceeding”, dated December 4, 2013, containing a barrage of deliberately false
representations of material facts were made to the Justice Court in support of the fraud

scam.

88. In common resemblance with the aforesaid perjurious

Affirmation, the Justice Court record, dated December 4, 2014, reflects similar
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 23 of 29

false representations by Defendant KJ Acres relating to the contract of sale with

Plaintiff herein.

89. The entire Justice Court file is filled with numerous falsified
statements made by Defendant KJ Acres and its agents, denying there ever existed
any written contract whatsoever relating to the sale of the subject premises to

Plaintiff herein.

90. Plaintiff's counsel moved at the Justice Court, before Judge
Milligram for dismissal of the action on the grounds inter alia that the Justice
Court lacked subject matter jurisdiction, for respondent (Plaintiff herein) is a

contract vendee in possession and not a tenant.

91. On December 4, 2013, at the Justice Court, Judge Milligram
presiding, although the Plaintiff insisted truthfully that he was not a tenant but a
contract vendee in possession, but because Defendant Friedman had fraudulently
confiscated the written contract dated December 29, 2008 and never returned it,

Plaintiff had no sufficient documentary evidence to prove his possession.
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 24 of 29

92. On December 4, 2013, Judge Milligram stating on that Justice
Court record, the Plaintiff's position is unsupported by a contract of sale, and
thereby induced the Plaintiff to enter into a payment stipulation, where the

payments would be made in escrow with attorney for herein Defendant KJ Acres.

93. Under the conditions presented by Judge Milligram on his court
record of December 4, 2013, if Plaintiff were to refuse he and his family of nine

children, and pregnant wife would be ordered evicted from the premises forthwith.

94. Under the duress of receiving an order of eviction against him
and his family of nine children and pregnant wife, Plaintiff herein agreed on the

record to make the payments.

95. Thereafter, a certain community activist named Menachem
Blum, contacted the office of the New York State Attorney General hoping to find
some fraudulent representations made by Defendants Joseph and Friedman.
Surprisingly, the Attorney General’s office sent back a letter with the contract

dated December 29, 2008.
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 25 of 29

96. Subsequently, Plaintiff submitted a show cause, pursuant to
CPLR §5015(a)(2)(3) to the Justice Court of Defendant Village of Monroe, for
signature to Judge Milligram, seeking vacatur of the December 4, 2013 stipulation
based on newly discovered evidence, to wit, the existence of the contract dated
December 29, 2013, and which shows beyond the shadow of a doubt that
Defendants Friedman and KJ Acres had committed a fraud of the court and on
Plaintiff herein. Plaintiff sought a stay of enforcement of the aforementioned

stipulation and a stay of the eviction.

97, Plaintiff gave sufficient notice in advance to counsel for

Defendant KJ Acres of his intent to seek a stay at the Justice Court.

98. The parties represented by counsel both appeared at the Justice

Court before Judge Milligram on Wednesday, May 28, 2014.

99. Judge Milligram was upset that Plaintiff had truthfully referred
to Defendant Friedman and his attorney as being a con artist. Judge Milligram
showed no problem with the acts of fraud perpetrated on his court or against the
Plaintiff; only he found it disgraceful to refer to the perpetrators by the term that

describes them for what they are and deserve to be called.
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 26 of 29

100. Judge Milligram denied the show cause on the record, but

refused to sign any paper reflecting his denial.

3

101. By Judge Milligram refusing to sign his denial of the Plaintiffs

show cause, he deprived Plaintiff of his constitutional right of due process.

102. In the absence of a signed paper from Judge Milligram denying
Plaintiffs show cause, Plaintiff had no recourse for seeking a stay at the Appellate

Term.

103. Judge Milligram deprived Plaintiff of the basic civil rights

provided him as a citizen of the United States.

104. Judge Milligram subsequently signed his denial of the show

cause after plaintiff complained to the Administrative Judge.

105. Judge Milligram, knew that in view of the contract dated

December 29, 2008, the Justice Court had no subject matter jurisdiction.
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 27 of 29

106. Judge Milligram acted outside his jurisdiction.

107. Judge Milligram additionally violated a 14-day Bankruptcy
Court stay that was still in place when he signed an order of eviction against

Plaintiff a week prior to the May 28, 2014 appearance.

108. As aresult of Judge Milligram refusing to issue his denial in

writing Plaintiff and his family were caused undue stress and aggravation.

109. Defendants Joseph and Friedman acted together as an
association in fact though not a legal entity RICO type enterprise when repeatedly

over ten years they sought to fraud and rob Plaintiff of money and real property

rights.

110. Every month beginning July 2008 Defendant Friedman, acting
in concert and conspiracy, utilized the United States mails in pursuing his fraud

scam against plaintiff.
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 28 of 29

111. Defendant Friedman repeatedly used Defendant KY Motel, an
entity operating out of state for the purpose of fraudulently billing Plaintiff for his

false rent demands.

112. In June 2004, Defendant Joseph reached Plaintiff , who then

resided in Canada, by means of false advertising that reached Canada at that time.

113. Defendant Friedman and Joseph are liable for treble damages to

Plaintiff for their violations of the civil RICO statute.

114. Defendant Friedman and Joseph are liable for causing Plaintiff

emotional stress and suffering.

115. Defendant Friedman and Joseph are liable for punitive

damages.

WHEREFORE, for all the reasons set forth hereinabove Plaintiff
seeks treble damages against Defendants Abraham Joseph, Nochum Friedman, KJ

Acres, KY Motel, Siman Tov Associates; and seeks injunctive relief against Judge
Case 7:14-cv-04477-NSR Document1 Filed 06/20/14 Page 29 of 29

Steven Milligram as this Court sees just and proper; and for any other relief that his

Court deems just and proper.

Dated: June 20, 2014

Ce

YITSCHAK GOLDSTEIN

131 Acres Road
Unit 201
Kiryas Joel

Monroe, New York 10950
(845) 783-4480.
